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                         IN THE UNITED STATES DISTRICT COURT
                        FOR THE NORTHERN DISTRICT OF ILLINOIS
                                   EASTERN DIVISION

   Ronald Andermann et al                           )
                                                    )
                             Plaintiff,             )
                                                    )
              v.                                    )      No. 14cv1004
                                                    )
   Nextel Retail Stores, LLC,                       )      Judge Rebecca R. Pallmeyer
                                                    )
                                                    )
                             Defendant.

                                            ORDER


        Status hearing held. Pursuant to direction from the Court of Appeals, the parties are
directed to proceed to arbitration. Civil case terminated.


(00:01)
                                                    ENTERED:



Dated: June 15, 2015                                ___________________________________
                                                    REBECCA R. PALLMEYER
                                                    United States District Judge
